                  IN THE UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF TEXAS – BROWNSVILLE DIVISION


 LOZANO, et al.,                            )
                                            )
        Plaintiffs,                         )
                                            ) Civil Misc. Action: 1:22-mc-100
 v.                                         )
                                            )
 DOE, et al.,                               )
                                            )
        Defendants                          )


                              MOVANT’S NOTICE OF FILING


       On September 23, 2022, the Movant, Ms. Jennifer Scarborough, complied with this

Court’s order by filing a copy of the Southern District of Texas’ Sept. 21st Order with the

Southern District of Ohio. The Southern District of Ohio accepted Ms. Scarborough’s filing and

uploaded it into Pacer on September 23rd.

       Ms. Scarborough now notifies this Court through this notice and attached exhibits that the

Southern District of Ohio accepted her filing.



Respectfully submitted on this 27th day of September 2022,



s// Jennifer Scarborough
Jennifer Scarborough
pro se
SDTX I.D. 3566791
Texas Bar No. 24106401
Law Firm of Jennifer Scarborough PLLC
P.O. Box 531888
Harlingen, TX 78553
(956) 513-7633
(956) 391-2358
abogadajennifer956@gmail.com

                                                 1
                               CERTIFICATE OF SERVICE

I hereby certify that on September 27, 2022, I caused a copy of the foregoing Movant’s Notice of
Filing and all supporting exhibits to be served on all counsel of record for Respondents in this
matter via the Court enabled electronic filing system.


s// Jennifer Scarborough
Jennifer Scarborough
